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,FB|, securities officials investigating
Scottsda|e Capita|, A|pine Securities,
source says

The FBI, the Securities and Exchange Commission and the Financiai Industty
Reguiatory Authority have opened investigations into the involvement of Scottsdaie
Capitai Advisors and Aipine Securities in the trading of Biazoorn Inc., according to a
person familiar with those investigations

by Bi|l Meagher @ Updated on December 06, 2013, 05:50 PM ET

The FB|l the Securities and Exchange Commission and the Financial industry Regulatory Authority have
opened investigations into the involvement of Scottsda|e Capita| Advisors and A|pine Securities in the

trading of Biozoom |nc., according to a person familiar with those investigationsl

investors in Biozoom lost some $300 million after the SEC halted trading in the stock in June. The
commission cited "a lack of current and accurate information" about the stock and suspicions that the

company and some shareholders may have illegally sold unregistered shares to the public

Before it allowed trading in Biozoom to resume in .Ju|y, the SEC obtained an emergency order from the

U.S. District Court in Manhattan, freezing almost 316 million in cash in U.S. brokerage accounts

Another 317 million in trading revenues connected to sales of Biozoom Shares was wired overseas before
the Couri Order. the SEC claimed in its court flling. Another 38 million in wire transfers requested by

Biozoom shareholders were halted by the broker-dealers before they could go overseas.

The SEC also ordered the broker-dealers involved in the transactionsl Arizona-based Scottsda|e Capita|,
Sa|t Lake City-based A|pine and Legend Securities lnc. of New `r'ork, to preserve a|| of their records

connected to the Biozoom transactions

The regulator charged eight Argentine citizens with illegal sales of unregistered shares of Eiiozoom. The
complaint also named two other Argentines who owned shares of Biozoorn but did not sell them prior to

the asset freeze

Biozoom, which lists Kasse|r Germany, as its headquartersJ purports to manufacture a "biofeedback

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device" that consumers can use to monitor and analyze data related to their health. The company went
public in February through a reverse merger with registered shell company Entertainment Art |nc. and

raised $1_15 million in a private placement to an investor whose identity was not disclosed

The stock was the subject of an unusual promotion four months |ater. Recommendations for Biozoom
stock appeared in at least 13 e-mail newsletters. according to Hotstocked.com, a website that tracks
stock promotions Lega| disclaimers that accompanied the promotions claimed that no compensation
had been paid for the stock-friendly hype. Legai disclaimers in penny stock newsletters often identify the
companies that pay for stock promotions and sometimes provide details of the compensationl as is

required under securities law_ Some stock promotion budgets run as high as 33 million.

One of the promotions claimed that Biozoom's `hand held device for the non-invasive transderma|
analysis of antioxidants and other biomarkers in the human body... replaces expensive, time consuming

and invasive blood tests."

"Future applications future roll-out markets and applications are even more impressive.“ another
newsletter stated. "Relevant biomarkers can and will be identified and analyzed for things such as
cho|esieroi, alcoho|, various illegal drugs, smokel poisons, and blood pressure -to name a iew. The unit is
being further developed to measure blood sugar levels, tapping into a staggering $220 billion a year
diabetes market in the U.S. and 350 mi[|ion people with diabetes around the world."

Biozoom stock was also promoted in an unusual advertising campaign that made use oi mainstream
media outlets, including the New York Times and USA Today. |n June, ads that took up most of a full page
were placed in those newspapers that ostensibly promoted a London-based publication called G|oba|
Financial |nsights. But, while the ads included subscription information and other details about the

publicationr most of their space was taken up with the magazines recommendation of Biozoom stock.

A full-page black and white ad in USA Today could have cost S125,000, according to information that the
newspaper distributes to advertisers A similar New York Times ad would run $B0.000 to 5100,000.

according to a newspaper spokesperson.

Both ads featured a headline that readl "|nnovative Technology Company |nvents Reai ‘Star Trek' Medical

Scanner that Diagnoses Patient l-Ieaith in Seconds."

A recommendation for Biozoom stock aiso featured prominently in an advertisement for a newsletter

called TheStockReport.com that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 214-page publication about Biozoom, which was
distributed |viay 1 6, the day that Biozoom began trading at $1.10. The report valued the shares at $10.30.

Biozoom started trading with a thin volume of about 10,000 shares a day. The S1.1(] share price implied a

market value of S‘l OS.E) million for the company.

But when the promotion began to pick up speed, the shares rose to 31.50 on their way to an intraday high

of $4.50 and a market cap of 3421.5 million. Trading volume jumped as high as 11.7 million shares.

When the stock was halted, the shares were at $3.45. When trading resumed, they plunged to 13 cents.

giving Biozoorn a market capitalization ofjust 59.56 million. investors lost more than $300 million,

Finra and SEC officials declined to comment for this story. An FB| spokesman would neither confirm nor

deny the existence of a criminal probe tied to Biozoom trading.

But a source who has spoken to investigators said the investigations are ongoing The probes by Finra

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and the SEC began in May, prior to the trading ha|t.

The brokerage firm Scottsda|e Capita| is owned by Scottsdale Capita| Advisors Holdings LLC and the
Hurry Fami|y irrevocable Trusi. A|pine is owned by SCA Clearing LLC. Both Scottsdale and Alpine are
controlled by John i-turry, who is a director of both companiesl Hurry’s wife Justine is a director with

Scotisdaie and a minority owner.

The home pages of both Scottsda|e Capita|`s and A|pine's websites feature the same motto, "At the top of
the Srna|| Cap Nlarket." along with a photo of a mountain peak. For Scottsda|e, it is a desert mountain For

Alpinel it's a snow capped peak_

The SEC complaint alleges that six ofthe shareholders named in the action, Magda|ena Tave||a, Adriana
Bagattin, Daniela Goldmanl Mariano Graciarena, Fernando Loureyro and Niariano Ferrari, opened accounts
at Scottsda|e between May 10 and June 14. The other shareholders named by the SEC - Andres
Ficicchia, Gonzalo B|ayal Lucia Hernando and Ceci|ia De Lorenzo - opened trading accounts at Legend
Securities from January through |V|arch, according to the SEC_ Ficicchia also had an account at

Scottsdale.

ln a||, the Biozoom shareholders deposited 20.1 million shares in the trading accounts which represented
100% of the share float that did not carry a trading restriction Those shares represented about 33% ofthe

total shares in the company.

None of the Biozoom shareholders contacted by e-mai|, responded to a request for comment from The

Dea|.

Legend Securities is owned by Stocktrade Network |nc., Chris Cacace. Sa|vatore Carusol Anthony Fusco

and Mark Su|avka, according to Finra records.

The SEC claims that when the Argentine shareholders opened their trading accounts at Scottsda|e and
Legend, they provided documents and sales receipts purporting to show that they had bought their shares
between Feb. 19 and March 15 from the original shareholders of shell company Entertainrnent Art. But
the SEC states in its complaint that all of the Entertainment Art shareholders sold their shares to Medford
Financia| Ltd. in 2009. Medford inturn was purchased by Le Mond Capita|, a British Virgin islands-based
firm, for $430,000 last year. Le Mond was controlled by Sara Deutsch, who became CEO of Entertainrnent
Art.

When the reverse merger took place in February, Deutsch paid 350,000 and 39 million shares to complete
the transaction with four German entities for intellectual property that became the basis for Biozoom, The
deal left her with 20.1 million shares. Deutsch became a director and assistant secretary for Biozoom, and

in doing so. became what the SEC considers to be a control person.

The commission alleges that the shares Deutsch controlled were the shares that were actually distributed
to the Argentine shareholders and that the stock sale agreements they used to help open the trading
accounts at Scottsdale and Legend were fakes. Since Deutsch was a control person, any shares she

distributed would be restricted and not free trading.

Deutsch ran a restaurant in Buenos Aires along with Magdalena Tavel|a called Magdalena's Party,
according to the SEC complaint. Tave||a was one of the Biozoom shareholders who traded through

Scottsdale_

Mi||er P|ace, N.Y.-based securities attorney Randall Gou|ding supplied a legal opinion for all of the

Biozoom shareholders based in part on the stock sale documents portraying the transactions with

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original Entertainrnent Art shareholdersl the SEC claimed in a court filing requesting the asset freeze. His
opinion letter stated that the share certificates could be deposited without restrictions based on an
exemption from registration provided by Rule 144 of the Securities Act. He said that the sellers were not
affiliates of the company and had held the shares for more than four years and that the account holders
were not individually or collectively the beneficial owner of more than 10% of the common shares of the

company

On June19, Goulding e-mailed the general counsel for Legend saying, "l hereby withdraw all of my
opinions issued for the securities of Biozoom, formerly Entertainmem Art_ Be advised that none of these

opinions should be relied upon," according to the SEC

San Antonio-based securities lawyer David Wise, who had supplied a similar legal opinion letter to
Scottsdale for Tavella and Goldman on May 20, withdrew his letter June 26. Wise sent an e-mail to
Scottsdale that in part readr “it has been brought to our attention that the SEC recently suspended trading
in Biozoom. lt has also been brought to our attention that Tavella and Goldman may have provided

inaccurate or misleading information and documentation to Scottsda|e and to this firm,"

A number of factors make it appear that the Biozoom shareholders were connected in an organized

effort.

A person who has spoken with investigators said that the six shareholders who held Scottsda|e accounts
opened them within the same week. The SEC complaint States that atl of the shareholders live in Buenos

Aires.

A person familiar with the investigative documents said the handwriting on the account applications for
the Biozoom shareholders was the same, the answers to questions on their foreign due diligence
packages were very similar and they held accounts at the same banks in Cyprus, Switzeriand and

Panama.

Moreover, the e-mail addresses they furnished for their trading accounts were opened within a week of
each otherl according to Whosis.corn, a website that furnishes information on domain registrations The

addresses are also similar, all containing the account holders' last names
The shareholders with accounts at Legend were also from Buenos Aires.

According to a declaration filed with the court by Ricky Sachar, an assistant director of enforcement for
the SEC, all of the shareholders e-mai| accounts were opened with the same regional lnternet registry. All
of the Biozoom trades were made from May 16 to June 17 and no other stocks were deposited ortraded
through the accounts at either Scottsdale or Legend. Also. all of the Biozoom trades were ordered using

either e-maii or instant messaging accounts

'These Shareholders were brought in for this. lt`s as simpie as that," said a person with knowledge of the
investigations 'They are retired teachers a dell owner, but they come in with millions of shares of stock.
They only trade Biozoom and they are directing trades using traders' lingo, telling them which market

makers to use for the trades? Come on. They were straw men for whoever is behind this whole thing.'

Tbat same person said the Biozoom shareholders who opened accounts with Scottsdale enjoyed perks

that were not available to other Scottsdale clients

Typical clients pay 4% pertransaction, or 4_5% iftheir transactions are cleared through Alpine. Longtime
clients who do a heavy volume of business may occasionally receive a discount of one percentage point.

But Biozoom clients paid just 2%, the person said.

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They were also allowed to place orders using instant messaging, which is generally forbidden under
Scottsdale's internal policies A person with knowledge of Scottsdale's operations said the policy was
changed for the Biozoom shareholders by the broker-dealers management after Biozoom shareholders

complained.

A standing Scottsdale policy only allows clients to wire funds from their accounts to banks in the U.S. or
to institutions in the country where they llve. But the person said that Biozoom shareholders were allowed
to send funds to Cyprusl Switzer|andl Panama and Belizel despite the fact that all of them live in

Argentina and all of them had signed documents agreeing to abide by Scottsdale's wire policy.

The same person said that several red flags were raised regarding the Biozoom trades at Scottsdale: They
were large trades in a microcap stock with relatively little liquidity. A|so, foreign nationals were wiring
large sums out of the U.S., raising potential concerns about money laundering Sti||l no follow-up occurred

at the broker-dealer, the person said.

Finra, who has worked with the SEC on the probe, has had several "on-the-record" conversations with
Scottsdale staff regarding the trading of Biozoom shares, the process by which the accounts were opened
for the Argentine nationals and how assets Were moved offshore, according to a person who has spoken
with investigators "OTRs", as they are known in the brokerage industry, are sessions in which Finra staff

ask specific questions of registered representatives who must answer them or face disciplinary actions.

A source who has spoken to investigators said Scottsdale staff members Who have talked with Finra
regarding Biozoom trades are Timothy Scarpino, Tim Dib|asi, Liz Arndt, Henry Diekmann, Jay Noiman,
Michaei Cruz, Adam Fiandaca and Ted Ashton.

Finra also talked with John Hurry, that same source said.

Scarpino, who processed the Argentine accounts connected to the Biozoom tradesl resigned from his
position at Scottsdale He declined comment for this story. Ashton, who was a compliance analyst, also is

no longer with the firm. Efforts to reach him failed.

Arndt is the office manager and oversees trading. No`iman and Diekmann are in compliance, and Diblasi is

chief operating officer Cruz is chief oounse|, and Fiandaca handles wiring of funds.
Diekmann denied he participated in the OTRs with Finra in a very brief phone interviewl

None of the other Scottsdale staff questioned by Finra returned phone calls from The Dea| seeking

comment regarding the OTR's about Biozoom_

Gera|d Russe|lo, a partner at the law firm of Sidley Austin LLP in New Yorkl said that Scottsdale and
Alpine would have no comment regarding Biozoom trading or the investigations by Finra, the SEC and the

FB|. Russel|o is a securities lawyer and former SEC enforcement branch chief_

Rlchard Ktrhy, a partner with K&L Gates LLP in Washington who represents Legend Securitiesl said he
does not know if the SEC is concerned with how Legend conducted itself with regards to the Biozoom

trades, but he said that Legend had not filed any notice with Finra regarding an SEC investigation

Kirby also said that Legend alerted the SEC to its concerns regarding Biozoom and that the broker-dealer

had acted on its own to freeze accounts tied to the Argentine nationals prior to the SEC action Juiy 7.

While Legend did complete a June 13 3600,000 wire transfer for Luciana Hernando to He||enic Bank
Public Co. in Lemesos, Cyprusl it refused Hernando's request to move 32 million to the same bank on

June17. Legend also refused a wire request from Blaya June 14 to transfer almost $3.5 million to a bank

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in Geneva. according to the SEC complaint

Meanwhile, John Hurry, who controls both Scottsdale and Alpine, is in negotiations to buy Salt Lake

City-based broker-dealer Wilson-Davis 81 Co., according to a person with knowledge of the dea|.

Representatives of Wi|son-Davis did not return phone calls from The Dea| seeking commentl Scottsdale

representatives declined to comment.

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